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                                  UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

ALBERT BUTLER,                                            §
          Plaintiff,                                      §
                                                          §             CIVIL ACTION NO
v.                                                        §
                                                          §             3:14-CV-1991-B
THE CITY OF DALLAS, TEXAS,                                §
AND BRIAN BRADLEY,                                        §
           Defendants.                                    §

                  JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

TO THE HONORABLE COURT:

         The Plaintiff, Albert Butler, and the Defendants, the City of Dallas and Brian Bradley

(collectively, “the Parties”), have settled all matters in dispute. Pursuant to Rule 41(a)(1)(ii) of

the Federal Rules of Civil Procedure, the Parties stipulate to the dismissal with prejudice of all

claims. The Parties request that the Court take note of this stipulation, and that the dismissal of

these claims and of this civil action be noted on the Court’s docket.

                                                      Respectfully submitted,



                                                      By: /s/ Daryl K. Washington [ with permission ]
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                                                      Respectfully submitted,

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                                                      ATTORNEYS FOR THE DEFENDANTS
                                      CERTIFICATE OF SERVICE

        I certify that on 12 July 2017 I electronically filed the foregoing document with the clerk
of the court for the U.S. District Court, Northern District of Texas, using the electronic case
filing system of the court. The electronic case filing system sent a “Notice of Electronic Filing”
to the following attorneys of record who have consented in writing to accept this Notice as
service of this document by electronic means:

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